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 6
      Attorneys for Defendants
 7
      RESIGNATION MEDIA, LLC;
      RESIGNATION HOLDINGS, LLC;
 8    KEEP CALM MANAGEMENT, INC.;
      LEO RESIG; AND, BOB PHILLIPP
 9

10
                         UNITED STATES DISTRICT COURT
11
                       CENTRAL DISTRICT OF CALIFORNIA
12

13    JEFFREY R. WERNER,                       Case No.: 2:14-CV-06494-JFW-JC
14               Plaintiff,
15                                             Judge: Hon. John F. Walter
      vs.
16

17    RESIGNATION MEDIA, LLC;
      RESIGNATION HOLDINGS, LLC;               DECLARATIONS OF MICHAEL B.
18    KEEP CALM MANAGEMENT, INC.;              COOPER, LEO RESIG AND
      LEO RESIG; AND, BOB PHILLIPP;            ROBERT PHILLIPP RE ORDER
19    AND DOES 1-10 INCLUSIVE,
                                               TO SHOW CAUSE MAY 20, 2015
20               Defendants.
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      DECLARATIONS OF MICHAEL B. COOPER, LEO RESIG AND ROBERT PHILLIPP RE ORDER TO SHOW
                                     CAUSE MAY 20, 2015
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 1                     DECLARATION OF MICHAEL B. COOPER
 2
            I, MICHAEL B. COOPER, declare:
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 4          1.     I am an attorney licensed to practice law in California, and am a
 5
      Partner at Yoffe & Cooper, LLP, attorneys for Defendants Resignation Media,
 6

 7
      LLC, Resignation Holdings, LLC, Keep Calm Management, Inc., Leo Resig and

 8    Bob Phillipp. I make this Declaration in response to this Court’s May 14, 2015
 9
      Order to Show Cause Why Defendants Should Not be Sanctioned For Failure to
10

11    Attend the Mediation in Person. I have personal knowledge of the following facts
12
      and if called upon to testify, would and could do so competently as follows:
13

14
            2.     This Court’s Local Rule 16-15.5(b) requires that “[e]ach party shall

15    appear at the settlement proceeding in person or by a representative with final
16
      authority to settle the case.” Further, the Local Rule goes on to state that “[a]
17

18    corporation or other non-governmental entity satisfies this attendance requirement
19
      if represented by a person who has final settlement authority and who is
20

21
      knowledgeable about the facts of the case.”

22          3.     As set forth more fully in my Declaration in Support of Joint Report
23
      Re Results of Settlement Conference, filed with this Court on May 12, 2015, I was
24

25    the representative with final authority to settle the case on behalf of the individual
26
      defendants, Leo Resig and Robert Phillipp, and the corporate defendants,
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      DECLARATIONS OF MICHAEL B. COOPER, LEO RESIG AND ROBERT PHILLIPP RE ORDER TO SHOW
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 1    Resignation Media, LLC, Resignation Holdings, LLC and Keep Calm
 2
      Management, Inc. and I am knowledgeable about the facts of this case.
 3

 4           4.    I personally appeared at mediation on April 22, 2015 with full and
 5
      final settlement authority from each defendant and informed the mediator of such.
 6

 7
      At no time did the mediator object to my role as an authorized representative,

 8    require written assurance from any individual defendant or request to speak with
 9
      any individual defendant regarding my authority to accept or reject any settlement
10

11    offer from Plaintiff.
12
             5.    It is worth noting, given Plaintiff’s Position in the Joint Report re:
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14
      Results of Settlement Conference, that any failure to settle was a direct result of the

15    respective parties’ positions and not a lack of attendance by any single defendant.
16
      In fact, Plaintiff himself failed to appear at the mediation; instead, a representative
17

18    purportedly empowered with final authority to settle the case likewise represented
19
      Plaintiff.
20

21
             6.    I appeared as Defendants’ authorized representative, pursuant to this

22    Court’s Local Rule, empowered with the final settlement authority for all
23
      Defendants. I believe this appearance and authority complied with both the spirit
24

25    and letter of Local Rule 16-15.5(b) and should not give rise to sanctions for
26
      Defendants’ failure to personally appear.
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      DECLARATIONS OF MICHAEL B. COOPER, LEO RESIG AND ROBERT PHILLIPP RE ORDER TO SHOW
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 1          I declare under penalty of perjury under the laws of the State of California
 2
      that the foregoing is true and correct. Executed on May 18, 2015 in Manhattan
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 4    Beach, California.
 5
                                               /s/ Michael B. Cooper
 6                                             MICHAEL B. COOPER
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      DECLARATIONS OF MICHAEL B. COOPER, LEO RESIG AND ROBERT PHILLIPP RE ORDER TO SHOW
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